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United States District Court
Southern District of New York

EDWIN ZAYAS, Individually and on Behalf of                   }
                                                                 Civil Action
All Others Similarly Situated,
                                                             }   No.            1:16 Civ 9496

                                               Plaintiffs,
                                                             }
                          - against -
                                                             }   ANSWER WITH
                                                                 COUNTER CLAIM,
132 NINTH AVENUE LIMITED LIABILITY COMPANY
                                           }                     CROSS-CLAIM and
and DLP GROUP, LLC,
                                                                 JURY DEMAND
                                            Defendants.      }



      Pursuant to Federal Rule of Civil Procedure 15(a)(1)(A), Defendant and

Cross-Claimant 132 NINTH AVENUE LIMITED LIABILITY COMPANY (“132

NINTH” or “Defendant”), by its attorneys FISCHMAN & FISCHMAN, files this

Answer to EDWIN ZAYAS’s Complaint (“Complaint”) and cross-claims against

Defendant DLP GROUP, LLC (“DLP”):

ANSWER

      Defendant specifically denies any and all allegations contained in headings, or

unnumbered paragraphs in the Complaint to the extent that any allegations exist

therein:

     1.        Defendant denies the allegations contained in Paragraph 1 of the

Complaint, and Defendant respectfully refers to the Court all questions concerning

the interpretation and legal effect of the statutes and/or regulations alluded to

therein.

     2.        Paragraph 2 of the Complaint does not contain any factual allegations
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which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the

interpretation and legal effect of the statutes and/or regulations alluded to therein.

     3.       Paragraph 3 of the Complaint does not contain any factual allegations

which can be admitted or denied.

     4.       Defendant lacks sufficient information to admit or deny the truth of the

factual allegations in ¶4 of the Complaint.

     5.       Paragraph 5 of the Complaint does not contain any factual allegations

which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the

interpretation and legal effect of the statutes and/or regulations alluded to therein.

     6.       Paragraph 6 of the Complaint does not contain any factual allegations

which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the

interpretation and legal effect of the statutes and/or regulations alluded to therein.

To the extent ¶6 contains any allegation that Defendant violated any law, such

allegation is denied.

     7.       Paragraph 7 of the Complaint does not contain any factual allegations

which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the

interpretation and legal effect of the statutes and/or regulations alluded to therein.



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     8.       Paragraph 8 of the Complaint does not contain any factual allegations

which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the

interpretation and legal effect of the statutes and/or regulations alluded to therein.

     9.       Defendant denies the allegations contained in ¶9 of the Complaint that

Defendant is a “domestic business corporation company” and refers this Court to the

filings made with the New York State Department of State, Division of Corporations.

    10.       Defendant denies the allegations contained in ¶10 of the Complaint and

refers this Court to the deed filings maintained by the Office of the City Register of

the City of New York.

    11.       Defendant lacks sufficient information to admit or deny the truth of the

factual allegations in ¶11 of the Complaint.

    12.       Paragraph 12 of the Complaint does not contain any factual allegations

which can be admitted or denied, and contains allegations which calls for conclusions

of law, and conclusions concerning the actual motivation of the plaintiff and his

attorney in commencing the instant class action, and Defendant respectfully refers to

the Court all questions concerning the interpretation and legal effect of the statutes

and/or regulations alluded to therein.

    13.       Paragraph 13 of the Complaint does not contain any factual allegations

which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the



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interpretation and legal effect of the statutes and/or regulations alluded to therein.

To the extent that any factual matter exists, Defendant denies such in its entirety.

    14.       Paragraph 14 of the Complaint does not contain any factual allegations

which can be admitted or denied.

    15.       Defendant lacks knowledge or sufficient information to admit or deny

the truth of the factual allegations in ¶15 of the Complaint.

    16.       Paragraph 16 of the Complaint does not contain any factual allegations

which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the

interpretation and legal effect of the statutes and/or regulations alluded to therein.

To the extent that any factual matter exists, Defendant denies such in its entirety.

    17.       Paragraph 17 of the Complaint does not contain any factual allegations

which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the

interpretation and legal effect of the statutes and/or regulations alluded to therein.

To the extent that any factual matter exists, Defendant denies such in its entirety.

    18.       Paragraph 18 of the Complaint does not contain any factual allegations

which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the

interpretation and legal effect of the statutes and/or regulations alluded to therein.

To the extent that any factual matter exists, Defendant denies such in its entirety.



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    19.       Paragraph 19 of the Complaint does not contain any factual allegations

which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the

interpretation and legal effect of the statutes and/or regulations alluded to therein.

To the extent that any factual matter exists, Defendant denies such in its entirety.

    20.       Paragraph 20 of the Complaint does not contain any factual allegations

which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the

interpretation and legal effect of the statutes and/or regulations alluded to therein.

To the extent that any factual matter exists, Defendant denies such in its entirety.

    21.       Paragraph 21 of the Complaint does not contain any factual allegations

which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the

interpretation and legal effect of the statutes and/or regulations alluded to therein.

To the extent that any factual matter exists, Defendant denies such in its entirety.

    22.       Paragraph 22 of the Complaint does not contain any factual allegations

which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the

interpretation and legal effect of the statutes and/or regulations alluded to therein.

To the extent that any factual matter exists, Defendant denies such in its entirety.

    23.       Paragraph 23 of the Complaint does not contain any factual allegations



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which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the

interpretation and legal effect of the statutes and/or regulations alluded to therein.

To the extent that any factual matter exists, Defendant denies such in its entirety.

    24.       Paragraph 24 of the Complaint does not contain any factual allegations

which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the

interpretation and legal effect of the statutes and/or regulations alluded to therein.

To the extent that any factual matter exists, Defendant denies such in its entirety.

    25.        Defendant lacks knowledge or sufficient information to admit or deny

the truth of the factual allegations in ¶25 of the Complaint.

    26.       Defendant admits the allegations contained in ¶26 of the Complaint.

    27.       Defendant admits the allegations contained in ¶27 of the Complaint.

    28.        Defendant lacks knowledge or sufficient information to admit or deny

the truth of the factual allegations in ¶28 of the Complaint.

    29.       Defendant knowledge or sufficient information to admit or deny the

truth of the factual allegations in ¶29 of the Complaint.

    30.       Defendant knowledge or sufficient information to admit or deny the

truth of the factual allegations in ¶30 of the Complaint, and denies the existence of

barriers alluded to in said paragraph.

    31.       Defendant knowledge or sufficient information to admit or deny the



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truth of the factual allegations in ¶31 of the Complaint, and denies the allegation

relating to accessability and usability alluded to in said paragraph.

    32.       Defendant denies knowledge or information sufficient to form a belief as

to whether any architectural barriers exist, or that removal of said barriers are

readily achievable.

    33.       Defendant denies that it failed to remove any architectural barriers

which removal is/was readily achievable under any applicable statute.

As to Violations of the Americans with Disabilities Act

    34.       Paragraph 34 of the Complaint does not contain any factual allegations

which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the

interpretation and legal effect of the statutes and/or regulations alluded to therein.

    35.       Defendant denies the allegations contained in ¶35 of the Complaint.

    36.       Paragraph 36 of the Complaint does not contain any factual allegations

which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the

interpretation and legal effect of the statutes and/or regulations alluded to therein.

To the extent said paragraph contains any factual allegation Defendant denies same.

    37.       Defendant denies the allegations contained in ¶37 of the Complaint.

    38.       Defendant denies the allegations contained in ¶38 of the Complaint.

    39.       Defendant denies the allegations contained in ¶39 of the Complaint.



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    40.       Paragraph 40 of the Complaint contains an irrelevant speculation about

the possibility of removing architectural barriers, of which Defendant lacks

knowledge or sufficient information to admit or deny.

    41.       Defendant denies the allegations contained in ¶41 of the Complaint.

    42.       Paragraph 42 of the Complaint contains a vague opinion about the

practicality of accessability of which Defendant knowledge or sufficient information

to respond.

    43.       Defendant denies the allegations contained in ¶43 of the Complaint.

    44.       Defendant denies the allegations contained in ¶44 of the Complaint.

    45.       Defendant denies the allegations contained in ¶45 (a) through (h) of the

Complaint.

    46.       Defendant denies the allegations contained in ¶46 of the Complaint.

    47.       Defendant denies the allegations contained in ¶47 of the Complaint.

    48.       Defendant denies the allegations contained in ¶48 of the Complaint.

    49.       Defendant denies the allegations contained in ¶49 of the Complaint.

    50.       Defendant denies the allegations contained in ¶50 of the Complaint.

    51.       Defendant denies the allegations contained in ¶51 of the Complaint.

    52.       Defendant denies the allegations contained in ¶52 of the Complaint.

    53.       Defendant denies the allegations contained in ¶53 of the Complaint.

    54.       Defendant denies the allegations contained in ¶54 of the Complaint.

    55.       Defendant denies the allegations contained in ¶55 of the Complaint.



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    56.       Paragraph 56 of the Complaint is a vague opinionated statement to

which Defendant cannot respond.

    57.       Paragraph 57 of the Complaint is a vague opinionated statement to

which Defendant cannot respond.

As to Violations of New York State Human Rights Law

    58.       Defendant realleges and incorporates by this reference all of the

allegations set forth in this Answer as if fully set forth herein.

    59.       Paragraph 59 of the Complaint does not contain any factual allegations

which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the

interpretation and legal effect of the statutes and/or regulations alluded to therein.

    60.       Defendant denies the allegations contained in ¶60 of the Complaint.

    61.       Defendant denies the allegations contained in ¶61 of the Complaint.

    62.       Defendant denies the allegations contained in ¶62 of the Complaint.

    63.       Defendant denies the allegations contained in ¶63 of the Complaint.

    64.       Defendant denies the allegations contained in ¶64 of the Complaint.

    65.       Defendant denies the allegations contained in ¶65 of the Complaint.

    66.       Defendant denies the allegations contained in ¶66 of the Complaint.

As to Violations of New York State Civil Rights Law

    67.       Defendant realleges and incorporates by this reference all of the

allegations set forth in this Answer as if fully set forth herein.



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    68.        Defendant denies the allegations contained in ¶68 of the Complaint.

    69.        Paragraph 69 of the Complaint does not contain any factual allegations

which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the

interpretation and legal effect of the statutes and/or regulations alluded to therein.

To the extent ¶69 contains any factual allegations, they are denied.

    70.        Paragraph 70 of the Complaint does not contain any factual allegations

which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the

interpretation and legal effect of the statutes and/or regulations alluded to therein.

To the extent ¶70 contains any factual allegations, they are denied.

    71.        Defendant lacks knowledge or information sufficient to admit or deny

the truth of the allegations in ¶71 of the Complaint.

As Disability Discrimination in Violations of NYC Human Rights Law §
8-107(4)

    72.        Defendant realleges and incorporates by this reference all of the

allegations set forth in this Answer as if fully set forth herein.

    73.        Paragraph 73 of the Complaint does not contain any factual allegations

which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the

interpretation and legal effect of the statutes and/or regulations alluded to therein. .

    74.        Paragraph 74 of the Complaint does not contain any factual allegations


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which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the

interpretation and legal effect of the statutes and/or regulations alluded to therein.

To the extent ¶74 contains any factual allegations, they are denied.

    75.        Paragraph 75 of the Complaint does not contain any factual allegations

which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the

interpretation and legal effect of the statutes and/or regulations alluded to therein.

To the extent ¶75 contains any factual allegations, they are denied.

    76.        Paragraph 76 of the Complaint does not contain any factual allegations

which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the

interpretation and legal effect of the statutes and/or regulations alluded to therein.

To the extent ¶76 contains any factual allegations, they are denied.

    77.        Paragraph 77 of the Complaint does not contain any factual allegations

which can be admitted or denied, and contains allegations which calls for conclusions

of law, and Defendant respectfully refers to the Court all questions concerning the

interpretation and legal effect of the statutes and/or regulations alluded to therein.

To the extent ¶77 contains any factual allegations, they are denied.

    78.        Defendant lacks knowledge or sufficient information to admit or deny

the truth of the allegations in ¶78 of the Complaint.



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    79.        Defendant denies the allegations contained in ¶79 of the Complaint.

As to Failure to Reasonably Accommodate in violation of NYC Human
Rights Law § 8-107(15)

    80.        Defendant realleges and incorporates by this reference all of the

allegations set forth in this Answer as if fully set forth herein.

    81.        Defendant denies the allegations contained in ¶81 of the Complaint.

    82.        Defendant denies the allegations contained in ¶82 of the Complaint.

    83.        Defendant denies the allegations contained in ¶83 of the Complaint.

    84.        Defendant denies the allegations contained in ¶84 of the Complaint.

    85.        Defendant denies the allegations contained in ¶85 of the Complaint.

    86.        Defendant denies the allegations contained in ¶86 of the Complaint.

    87.        Defendant denies the allegations contained in ¶87 of the Complaint.

    88.        Defendant denies the allegations contained in ¶88 of the Complaint.

As to Declaratory Relief

    89.        Defendant realleges and incorporates by this reference all of the

allegations set forth in this Answer as if fully set forth herein.

    90.        Defendant denies the allegations contained in ¶90 of the Complaint and

respectfully refers to the Court all questions concerning the interpretation and legal

effect of the statutes and/or regulations alluded to therein.

    91.        Defendant denies that Plaintiff is entitled to any of the relief set forth

in the WHEREFORE clause of the Complaint.




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                           AFFIRMATIVE DEFENSES

    92.        Without admitting or acknowledging that Defendant bears any burden

of proof as to any of them, Defendant asserts the following affirmative defenses.

Defendant intends and specifically reserves the right to rely upon any additional

defenses that become available or apparent while this action is pending and reserves

the right to amend this answer in order to otherwise assert any such further

defenses.

                                  FIRST DEFENSE

    93.        The allegations in the Complaint fail to state a claim for which relief

may be had.

                                SECOND DEFENSE

    94.        Plaintiff’s claims, and the claims of each putative member of the

purported class defined in the Complaint as other persons similarly situated, are

barred, in whole or in part, by the applicable statute of limitations including the New

York Executive Law § 297(5) and the New York City Administrative Code Chapter 5

§ 8-502.

                                 THIRD DEFENSE

    95.        The allegations in the Complaint must be dismissed by reason of

plaintiffs failure to comply with one or more conditions precedent to filing the within

lawsuit.


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                               FOURTH DEFENSE

    96.        Plaintiff’s claims, and the claims of each putative member of the

purported class defined in the Complaint as other persons similarly situated, are

barred in whole or part because any modifications do not trigger the “alteration”

legal standard.

    97.        Plaintiff’s claims, and the claims of each putative member of the

purported class defined in the Complaint as other persons similarly situated, are

barred because, to the extent architectural barriers alleged by the Plaintiff exist

(which supposition is explicitly denied and merely stated for the purpose of this

additional defense) the removal of such barriers is virtually impossible.

                                 FIFTH DEFENSE

    98.        Plaintiff’s claims, and the claims of each putative member of the

purported class defined in the Complaint as other persons similarly situated, are

barred because any alterations made to the Premises are sufficient in that they

satisfy the “to the maximum extent feasible” standard to the extent applicable.




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                                 SIXTH DEFENSE

    99.        Plaintiff’s claims, and the claims of each putative member of the

purported class defined in the Complaint as other persons similarly situated, are

barred because, to the extent architectural barriers alleged by Plaintiff exist (which

supposition is explicitly denied and merely stated for the purpose of this additional

defense) the modification of such barriers is not readily achievable.

                               SEVENTH DEFENSE

   100.        Plaintiff’s claims, and the claims of each putative member of the

purported class defined in the Complaint as other persons similarly situated, are

barred in whole or part because architectural barriers in the Premises have been

removed sufficient to satisfy the “readily achievable” standard to the extent

applicable.

                                EIGHTH DEFENSE

   101.        The applicable statutory ceilings on recoverable damages must limit any

damages recovered by Plaintiff from Defendant.

                                 NINTH DEFENSE

   102.        To the extent Defendant is determined to be liable, it is entitled to

contribution from Defendant DLP GROUP, LLC based on its actions, inactions,

negligence, recklessness and/or other conduct, including but not limited to it actions

alleged in Plaintiff’s Complaint.


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                                TENTH DEFENSE

   103.        Plaintiffs claims, and the claims of each putative member of the

purported class defined in the Complaint as other persons similarly situated, are

barred because, to the extent architectural barriers alleged by Plaintiff exist (which

supposition is explicitly denied and merely stated for the purpose of this additional

defense) the barriers are de minimis and/or are within conventional building

industry tolerances.

                              ELEVENTH DEFENSE

   104.        Any auxiliary aids and services alleged to be required would constitute

an undue burden as defined in the Treasury Regulations as “significant difficulty or

expense” and is not required.

                              TWELFTH DEFENSE

   105.        The applicable statutory ceilings on recoverable damages must limit any

damages recovered by Plaintiff from Defendant.

                            THIRTEENTH DEFENSE

   106.        Plaintiff’s claims against Defendant, and the claims of each putative

member of the purported class defined in the Complaint as other persons similarly

situated, are barred because Defendant has complied with all applicable regulations

of the federal, state and city governments.




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                            FOURTEENTH DEFENSE

   107.        Plaintiff fails to allege facts or a cause of action against Defendant

sufficient to support a claim for attorneys’ fees.

   108.        Plaintiff is not entitled to damages or attorney’s fees because Plaintiff

acted in bad faith by failing to give Defendant notice of alleged violations prior to

filing lawsuit, when alleged violations could have been handled in a cost-efficient

manner, in a transparent attempt to extract a settlement.

                              FIFTEENTH DEFENSE

   109.        Plaintiff’s claims, and the claims of each putative member of the

purported class defined in the Complaint as other persons similarly situated, are

barred in whole or part pursuant to 28 C.F.R. § 36.403(f) in that any alleged

alteration required to conform is disproportionate to the overall alteration, if any.

                              SIXTEENTH DEFENSE

   110.        The Complaint was not initiated in good faith and is barred by the

doctrine of unclean hands.

                           SEVENTEENTH DEFENSE

   111.        Plaintiff is not entitled to injunctive relief because he has failed to show

an injury-in-fact or a threat of real and immediate harm.




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                            EIGHTEENTH DEFENSE

   112.        The Complaint must be dismissed because Plaintiff has not shown, and

does not have, a good faith intent to return to the subject property and patronize its

facilities.

   113.        This is the twelfth ADA case brought by the Plaintiff (represented by

the same attorney) in the Southern District of New York since January 2016.

   114.        Upon information and belief, the Plaintiff lacks standing as he is a

serial ADA litigant who has and continues to pursue a course of litigation instituted

without sufficient grounds and serving only to cause annoyance and expense to this

and other similarly situated defendants for the purpose of recovery attorney's fees

under the ADA.

   115.        As of the present day, the Plaintiff has instituted in the SDNY the

following cases:

   1:15-cv-07611-ER             Zayas v. Western Beef       filed 09/25/15   closed 04/21/16
                                Retail, Inc.

   1:16-cv-04175-PGG            Zayas v. 136 Ninth Avenue filed 06/05/16   closed 10/20/16
                                Corp. et al

   1:16-cv-04176-GBD            Zayas v. 144 Ninth          filed 06/05/16
                                Gotham Pizza, Inc. et al

   1:16-cv-04177-GHW            Zayas v. 364 West 19th      filed 06/05/16
                                Street, LLC et al

   1:16-cv-06763-LTS            Zayas v. Rosington Corp. et filed 08/27/16
                                al


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   1:16-cv-06781-GBD            Zayas v. DT Hospitality     filed 08/29/16
                                Group Inc. et al

   1:16-cv-06811-ER             Zayas v. York & Georgey, filed 08/30/16
                                Inc. et al




   1:16-cv-08028-GHW            Zayas v. BEC Foods, LLC filed 10/13/16

   1:16-cv-09306-KBF            Zayas v. 301 W 17 LLC et filed 12/01/16
                                al

   1:16-cv-09307-LAP            Zayas v. 246-18 Realty,     filed 12/01/16
                                LLC et al

   1:16-cv-09308-PAE            Zayas v. 110 Ninth Avenue filed 12/01/16
                                Corp. et al

   1:16-cv-09493-WHP            Zayas v. Hua Da Inc et al   filed 12/08/16

   1:16-cv-09496-KPF            Zayas v. 132 Ninth Avenue filed 12/08/16
                                Limited Liability Company
                                et al

   1:16-cv-09939-PKC            Zayas v. Vesdel Food's Inc filed 12/26/16
                                et al

                            NINETEENTH DEFENSE

   116.        Plaintiff's claims, and the claims of each putative member of the

purported class defined in the Complaint as other persons similarly situated, are

barred, as Plaintiff is not an adequate representative of the proposed class, and there

are no others similarly situated as Plaintiff.




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                                 COUNTERCLAIM

   117.        Defendant has retained the Law Offices of Fischman & Fischman, and

has agreed to pay it a reasonable fee for its services. Pursuant to 28 U.S. C. §1927, 42

U.S.C. §12205 and 42 U.S. Code § 2000a–3(b) (based upon Plaintiff’s demand for

injunctive relief), Defendant is entitled to recover attorneys’ fees and costs incurred

in this action in the event it is deemed a prevailing party in this action, or otherwise

demonstrate entitlement to fees under said statutes.




              RESERVATION OF ADDITIONAL DEFENSES

   118.        Defendant reserves the right to allege additional defenses as they

become known during discovery and to amend its answer accordingly.

               CROSS-CLAIM AGAINST CO-DEFENDANT
                         DLP GROUP, LLC

   119.        Defendant DLP entered into a Lease with the Defendant 132 NINTH

(the “Lease”) for the storefront located at 2783 Broadway, New York, New York,

which is the subject of this action (the “Premises”).

   120.        The Defendant 132 NINTH        is in compliance with all obligations

thereunder, and the Lease remains in full force and effect as of the date hereof.

   121.        In connection with the Lease, the Defendant DLP performed certain

work to generally prepare the Premises for operation of its business (the “Tenant’s

Work”). In connection with the Tenant’s Work, DLP was responsible for ensuring


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that the Premises complied with certain specified legal requirements, including inter

alia those required under the Americans with Disabilities Act, if applicable.

   122.        In accordance with the Lease, Defendant DLP agreed to indemnify and

hold Defendant 132 NINTH harmless from and against claims arising out of

certain acts and omissions by the Defendant DLP, including inter alia those that

relate to the Tenant’s Work and operation of DLP’s business at the Premises. In

addition, pursuant to the Lease, the Defendant DLP agreed to provide a defense to

132 NINTH       against any such action or proceeding.

   123.        Pursuant to 28 CFR § 36.201 (b) and the Lease between the Defendants

DLP has responsibility for complying with the obligations hereunder.

   124.        Upon a breach of Defendant DLP’s obligation to defend, DLP is

additionally liable under the Lease to 132 NINTH for its reasonable attorneys fees

and disbursements incurred by them.

   125.        To date, defendant DLP has declined and refused to indemnify 132

NINTH and to provide a defense to the within action, despite due demand therefor,

and is in breach of the said obligations.

   126.        By reason of the foregoing, if it is found that the answering Defendant

132 NINTH is liable, in whole or in part, to the Plaintiff herein, which liability is

expressly denied, then the Defendant 132 NINTH is entitled to indemnification

from and against the Defendant DLP, for any judgment or other relief that the

Plaintiff may recover against the answering Defendant, in addition to 132 NINTH’s



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reasonable attorneys fees and disbursements incurred in defense of this action.




                      DEMAND FOR TRIAL BY JURY

      WHEREFORE, Defendant demands a trial by jury for all claims and issues in

this action for which defendant is or may be entitled to a jury trial.



      WHEREFORE, Defendant 132 NINTH respectfully requests that the Court

enter judgment in favor of Defendant 132 NINTH :

      A. Dismissing the Complaint in its entirety, and granting the costs and

disbursements of this action, or, in the alternative, granting the Defendant 132

NINTH judgment over and against, and indemnity, from the Defendant DLP, for

loss or damage incurred by Defendant 132 NINTH if any, in connection with the

within action; and

      B. That the Court issue an award of counsel fees, costs, and disbursements

against the Plaintiff Edwin Zayas; and

      C. That the Court issue an award of counsel fees, costs, and disbursements

against the Defendant DLP in favor of the Defendant 132 NINTH by reason of

DLP’s breach of its duty to defend and indemnify 132 NINTH; and

      D. That the Court award the Defendant 132 NINTH such other relief as the

Court may deem appropriate and just.




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       New York NY                           /s/ Doreen J. Fischman
                                          Respectfully submitted
                                          Doreen J. Fischman, Esq. (0632)
                                          Fischman & Fischman
                                          Attorneys for Defendant NOAM
                                          Associates, L.L.C.
                                          305 Broadway STE 201
                                          New York NY 10007
                                          (212) 274-0555
                                          doreen.fischman@verizon.net
To:

Law Offices of James E. Bahamonde, P.C.
Attorney for the Plaintiff(s)
2501 Jody Court
North Bellmore, NY 11710
Tel: 646-290-8258
Fax: (646) 435-4376
James@CivilRightsNY.com




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